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 1   BENJAMIN B. WAGNER
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 4   Telephone: (916) 554-2724
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,    )
                                  )        CR. NO. S-09-392 WBS
11              Plaintiff,        )
                                  )
12       v.                       )        STIPULATION AND [PROPOSED] ORDER
                                  )        CONTINUING STATUS CONFERENCE
13   MUHAMMAD INAYAT,             )        RE: JUDGMENT AND SENTENCING
     ISA CHICAGO WHOLESALE,       )
14                                )         Date: 8/19/13
               Defendant.         )         Time: 10:00 a.m.
15   _____________________________)        Court: Courtroom 8
16
17          IT IS HEREBY stipulated between the United States of America
18   through its undersigned counsel, Assistant United States Attorney R.
19   Steven Lapham, and defendant MUHAMMAD INAYAT and ISA CHICAGO
20   WHOLESALE, through their undersigned counsel, Jay L. Kanzler, that
21   the judgment and sentencing presently set for August 19, 2013 at 9:30
22   a.m. be continued to October 15, 2013 at 9:30 a.m.
23          Both sides request this continuance because the defendant
24   suffered a heart attack in early August and has been prescribed
25   bedrest for approximately six weeks. Because the defendant resides in
26   Toronto, Canada, requiring him to appear for sentencing would
27   necessitate him traveling by air for several hours which, the parties
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 1   agree, would be contrary to the medical advice given to him by his
 2   doctors.
 3   IT IS SO STIPULATED.
 4   Dated: August 15, 2013                     /s/ Jay L. Kanzler
                                              JAY L. KANZLER
 5                                            Attorney for Defendants
                                               Muhammad Inayat and
 6                                             ISA Chicago Wholesale
 7
     Dated: August 15, 2013                   BENJAMIN B. WAGNER
 8                                            United States Attorney
 9
                                        by:     /s/ R. Steven Lapham
10                                            R. STEVEN LAPHAM
                                              Assistant U.S. Attorney
11
12
13                                    O R D E R
14
     IT IS SO ORDERED.
15
     Dated:   August 15, 2013
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